                                         j ORIGINAL                                         08/26/2024


                IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                        Case Number: PR 07-0011


                                         PR 07-0011




 IN THE MATTER OF CALLING A RETIRED
 DISTRICT JUDGE TO ACTIVE SERVICE                                     ORDER




       Honorable Elizabeth A. Best, Judge of the District Court for the Eighth Judicial
District of the State of Montana, has requested the assistance of retired District Judge James
A. Manley to assume jurisdiction of Eighth Judicial District Court Cause No. DC-2024-6,
State v. Ryerson.
       Judge Manley has retired under the provisions of the Montana Judges' Retirement
System and, being subject to call for duty pursuant to § 19-5-103(a) and (b), MCA, has
advised that he is agreeable to assisting the Eighth Judicial District Court with the
above-listed matter.
       IT IS HEREBY ORDERED:
       1. Honorable James A. Manley, retired District Judge, is hereby called to active
service in the District Court of the Eighth Judicial District of the State of Montana, to
assume judicial authority of Cause No. DC-2024-6, State v. Ryerson, and is hereby
authorized to proceed with any and all necessary hearings, opinions, and orders, including
final resolution of said matter.
       2. For all active service, Judge Manley shall be paid the salaiy compensation to
which he is entitled by § 19-5-103(2)(b), MCA, and actual expenses, if any, shall be
reimbursed.
       3. A copy of this Order shall be filed with the Clerk of Court for Cascade County,
with the request that this Order be sent to all counsel of record in the above-listed matter.


                                                                            FILED
                                                                             AUG 2 6 2024
                                                                           Bowen Greenwood
                                                                         Clerk of Supreme Court
                                                                            State of Montana
       4. A copy of this Order shall also be furnished to Honorable Elizabeth A. Best,
Honorable Matthew J. Cuffe, Honorable James A. Manley, and to Cathy Pennie, Office of
the Supreme Court Administrator.
       The ChiefJustice enters this Order pursuant to Article VII, Section 6(3) of the 1972
Montana Constitution, and statutes enacted in conformity therewith and in implementation
thereof.
                        Y\''
       DATED this -C__ 6 day of August, 2024.


                                                                  ,,,: ,„\?,
                                                              Chief Justice




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